Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 1 of 15




                 UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA,

                       Plaintiff,

   v.                                              Case No. 15-CR-133-001-GKF

   VYSEAN LEANDRE EMBRY,

                       Defendant.


          Response in Opposition to Defendant’s § 3582(c)(1)(A) and (c)(2)
              Motion for Reduction of Sentence (Dkt. # 579 and 585)

    The Court should deny Vysean Embry’s motion for reduction of sentence for

 several reasons. First, he has not shown an extraordinary and compelling reason for

 a sentence reduction. Section 1B1.13(b)(6) does not apply to Embry, and, even if it

 did, Embry has not shown a gross disparity because his career offender sentence also

 falls within the Guidelines range he would face without the career offender

 enhancement. Second, under the applicable standard, ample evidence supported the

 two-level firearm enhancement. Furthermore, Embry’s health issues do not amount

 to an extraordinary and compelling reason for a sentence reduction, and his

 rehabilitation, by itself, cannot constitute such a reason. Finally, because he has

 criminal history points but no “status points,” Embry is not entitled to a sentence

 reduction under Amendment 821 to the Sentencing Guidelines.
Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 2 of 15




                                     Factual Background

     In 2015, Embry, a member of the 107 Hoover Crips, led a crack cocaine

 distribution operation out of a Tulsa motel. (PSR at ¶¶ 12–14). He managed at least

 seven other people who acted as his distributors. (Id. at ¶ 13). Embry’s operation

 distributed more than 280 grams of crack cocaine in the Tulsa area. (Id. at ¶ 17).

 Following several controlled buys, a federal complaint charged Embry with

 distributing cocaine base. (Id. at ¶¶ 2, 14). He had previous state convictions for

 violating 63 Okla. Stat. § 2-401 and 21 Okla. Stat. § 645, for which he had received

 concurrent five-year sentences, and served more than 21 months. (PSR at ¶¶ 38–39;

 see also Dkt. # 565 at 6–7).1

     A federal grand jury charged Embry in a 29-count indictment, including a charge

 for drug conspiracy involving 280 grams or more of crack cocaine in violation of 21

 U.S.C. §§ 846 and 841(b)(1)(A)(iii)(II). (Id. at ¶ 9; Dkt. # 255). The government filed

 a § 851 Information, notifying Embry that based on his prior felony drug conviction

 he faced an increased penalty, including a mandatory minimum sentence of 20 years.

 (Dkt. # 258; see 21 U.S.C. § 851 (2016)). Embry pleaded guilty to the conspiracy

 charge. (See PSR at ¶ 11; Dkt. # 403).

     Embry’s offense level before accounting for his acceptance of responsibility was

 37. (PSR at ¶¶ 22–28). He also qualified as a career offender under USSG § 4B1.1,



 1
  Embry has accrued a lengthy criminal history going back to age 12, including juvenile
 convictions for burglary, cruelty to animals, and assaulting a victim with a tire iron. (See
 PSR at ¶¶ 33-43).
                                                2
Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 3 of 15




 because he was over 18 at the time of his offense conduct, he had prior felony

 convictions for both a crime of violence and a controlled substance offense, and, at

 the time, his crime of conviction qualified as a controlled substance offense. (PSR at

 ¶¶ 29, 38-39; USSG § 4B1.1). Embry’s career offender status, combined with the fact

 that he faced a maximum sentence of life, also set his base offense level at 37 while

 placing him in Criminal History Category VI. (PSR at ¶¶ 29, 44; USSG § 4B1.1(b)).

 Without his career offender status, Embry’s prior convictions would have placed him

 in Criminal History Category V. (PSR at ¶ 44). After a three-level reduction for

 acceptance of responsibility, he faced a total offense level of 34 and a Guidelines

 sentencing range of 262 to 327 months. (PSR at ¶¶ 30-31, 69; Dkt. # 397).

    At Embry’s November 2016 sentencing, this Court granted the government’s

 § 3553(e) motion and departed four more levels to a total offense level of 30 and a

 sentencing range of 168 to 210 months. Without a career offender designation—i.e.,

 with his Category V Criminal History rather than the Category VI applicable to

 career offenders—Embry would have faced a sentencing range of 151 to 188 months.

 This Court ultimately imposed a 180-month term, which falls within both ranges,

 well below the otherwise-applicable 20-year mandatory minimum. (Dkt. ## 402,

 403; 433 at 5:16 – 6:1).

    Embry filed a direct appeal, which the Tenth Circuit dismissed in accordance

 with the appeal waiver in his plea agreement. See United States v. Embry, 689 F. App’x

 617, 619 (10th Cir. 2017). Embry later filed a § 2255 motion asserting ineffective

 assistance of counsel. (See Dkt. # 469). This Court denied that motion, and further
                                            3
Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 4 of 15




 denied Embry a certificate of appealability. (Dkt. # 489). Embry then sought

 permission to file a second or successive motion under § 2255 (see Tenth Circuit Case

 No. 19-5113), which the Tenth Circuit denied. (See Dkt. # 534). Embry has served

 100 months of his 180-month sentence.

    The Bureau of Prisons rates Embry’s health as Level 1, “Healthy or Simple

 Chronic Care,” with care for mental health. He suffers from tinnea pedis, obesity,

 and opioid use disorder, among other things. (Exhibit 1, Excerpts from BOP Health

 Services Report at 1, 4–5). He has received both doses of the Moderna COVID-19

 vaccine, as well as the Pfizer-BioNTech COVID-19 booster. (Id. at 2).

 Embry now seeks a reduction of his sentence under §§ 3582(c)(1)(A) and (c)(2).

    Embry moved for a sentence reduction under § 3582(c)(1)(A), and this Court

 ordered the government to respond. (Dkt. ## 579 and 582). Embry later

 supplemented his original motion with a brief seeking relief under § 3582(c)(2) and

 Amendment 821 to the Sentencing Guidelines. (Dkt. # 585). In his original motion,

 Embry argues that he is not a career offender under USSG § 4B1.1 because his

 offense of conviction—conspiracy to distribute cocaine base—is not a controlled

 substance offense under § 4B1.2(b). (Dkt. # 579 at 20–25). Embry also argues that he

 should not have received a two-level enhancement for possessing a firearm, that

 there are unwarranted sentencing disparities between him and others who have

 received sentence reductions, that his rehabilitation shows he is ready to reenter

 society, and that his health conditions coupled with the risk of COVID-19 justify a


                                             4
Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 5 of 15




 reduction of his sentence. (Id. at 15–17; 25–37). In his supplemental brief, Embry

 makes general assertions about applying Amendment 821 to his sentence.


                                Argument & Authorities

 I. The Court should deny Embry’s motion under § 3582(c)(1)(A) because he
    cannot show an extraordinary and compelling reason for a sentence reduction.

    A district court may grant a sentence reduction under 18 U.S.C. § 3582(c)(1)(A),

 “only if three requirements are met: (1) . . . extraordinary and compelling reasons

 warrant such a reduction; (2) . . . such a reduction is consistent with applicable policy

 statements issued by the Sentencing Commission; and (3) the district court considers

 the factors set forth in § 3553(a).” United States v. Maumau, 933 F.3d 821, 831 (10th

 Cir. 2021). In Maumau, the Tenth Circuit held that the policy statement in USSG

 § 1B1.13 was not applicable to compassionate release motions filed directly by

 defendants, because the Sentencing Commission had been unable to revise the policy

 statement after Congress’s amendment of § 3582(c)(1) to permit defendant-filed

 motions. 933 F.3d at 836–37. Therefore, under Maumau, district courts’ findings that

 “extraordinary and compelling reasons” warranted a sentence reduction were “not

 constrained by the Sentencing Commission’s existing policy statement.” Id. at 837.

    However, the Sentencing Commission recently promulgated amendments to the

 Guidelines that apply to prisoner-filed motions for sentence reduction. The

 amendments include revisions to the policy statement in USSG § 1B1.13 and its

 commentary that broaden the definition of “extraordinary and compelling reasons”


                                            5
Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 6 of 15




 for purposes of § 3582(c)(1)(A). Accordingly, at the second step of the compassionate

 release analysis, district courts are again bound to determine whether a potential

 reduction is consistent with § 1B1.13 as amended to address the First Step Act.

    Notably, a district court may deny a sentence reduction “when any of the three

 prerequisites listed in § 3582(c)(1)(A) is lacking and do[es] not need to address the

 others.” United States v. Hemmelgarn, 15 F.4th 1027, 1029 (10th Cir. 2021); see also

 United States v. Hald, 8 F.4th 932, 942 (10th Cir. 2021), cert. denied, 142 S. Ct. 2742

 (2022). The defendant bears the burden to establish that he is eligible for a sentence

 reduction. United States v. Gunkel, No. 16-CR-061, 2023 WL 6160612 at *2 (N.D.

 Okla. Sept. 21, 2023) citing United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016).

    A. Embry cannot show an extraordinary and compelling reason for reducing his
    sentence, because no gross disparity exists between the sentence he received and the
    sentence he would receive today.

    Although Embry’s offense of conviction would not qualify him as a career

 offender today, he would not qualify for a sentence reduction under the Gudelines

 amended policy statement in USSG § 1B1.13(b)(6). Moreover, the amendment’s

 expansion of compassionate release to non-retroactive changes in the law is contrary

 to § 3582(c)(1)(A)’s text, structure, and purpose. In any case, the 180-month sentence

 this Court imposed on Embry falls within the 151-to-188-month sentencing range

 Embry would face even without the career offender enhancement. Accordingly, even

 if § 1B1.13(b)(6) was valid and applicable, Embry has not demonstrated an

 extraordinary and compelling reason for a sentence reduction because he has not


                                              6
Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 7 of 15




 shown a gross disparity between the sentence he received and the sentence he would

 receive today without the career offender enhancement.

       1. Embry would not receive a career offender enhancement if sentenced today.

    The Guidelines define a career offender as a defendant (1) who was at least 18 at

 the time he committed the offense of conviction, (2) whose offense of conviction is a

 felony that is either a crime of violence or a controlled substance offense, and (3)

 who has at least two prior felony convictions of either a crime of violence or a

 controlled substance offense. USSG § 4B1.1. Embry would not qualify as a career

 offender today because he pleaded guilty to conspiracy to distribute cocaine base,

 which is no longer considered a controlled substance offense. See United States v.

 Crooks, 997 F.3d 1273, 1279 (10th Cir. 2021) (A “drug conspiracy conviction of 21

 U.S.C. § 846 is not a ‘controlled substance offense’ within the meaning of the career

 offender guideline.”). Thus, today, Embry would not meet the second prong of the

 Guidelines’ career offender definition, and would not be subject to a career offender

 enhancement.

       2. This Court cannot reduce Embry’s sentence based on USSG § 1B1.13(b)(6).

    The Sentencing Commission’s amendment to § 1B1.13 lists circumstances that

 qualify as “extraordinary and compelling,” including unusually long sentences,

 where a defendant has served at least ten years, and a change in the law (other than

 non-retroactive guidelines amendments) would produce a gross disparity between the

 sentence being served and the sentence likely to be imposed when the motion is filed.

 USSG § 1B1.13(b)(6). Embry’s motion, based on the lower sentence he would
                                             7
Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 8 of 15




 receive today, without the career offender enhancement, fails for two reasons.

           a. Subsection (b)(6) of § 1B1.13 is invalid because it conflicts with the
              Sentencing Reform Act’s overarching purpose and Congress’s specific
              intent with respect to § 3582(c)(1)(A).

    First, although Congress delegated broad authority to the Sentencing

 Commission, subsection (b)(6) is contrary to § 3582(c)(1)(A)’s text, structure, and

 purpose, and is, therefore, invalid. Section 3582(c)(1)(A) provides an “except[ion]”

 to the overarching principle of federal sentencing that a “federal court generally ‘may

 not modify a term of imprisonment once it has been imposed.’” Dillon v. United

 States, 560 U.S. 817, 819 (2010) (quoting 18 U.S.C. § 3582(c)). Congress instructed

 that any reason sufficient to overcome that general principle must be “extraordinary

 and compelling.” 18 U.S.C. § 3582(c)(1)(A)(i). No reasonable interpretation of that

 phrase’s text, particularly when considered in light of § 3582(c)(1)(A)’s structure and

 purpose, can encompass nonretroactive or intervening changes in law.

    As a matter of plain language, an intervening change in the law is neither

 “extraordinary” nor “compelling.” The Tenth Circuit has determined that changes in

 law can qualify as extraordinary and compelling reasons in some circumstances, see

 United States v. McGee, 992 F.3d 1035, 1047–1048 (10th Cir. 2021), but it has yet to

 consider the amended policy statement.

    Nonetheless, § 3582(c)(1)(A)’s statutory scheme confirms that the phrase

 “extraordinary and compelling reasons” does not encompass changes in law.

 Notably, in § 3582(c)(2), Congress expressly addressed the retroactive application of

 some changes in law. Congress authorized courts to modify a term of imprisonment
                                            8
Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 9 of 15




 where a defendant was sentenced “based on a sentencing range that has subsequently

 been lowered by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2); see 28 U.S.C.

 § 994(u) (directing the Commission to determine when such modifications are

 appropriate). There would have been no reason for “the same Congress, skeptical of

 sentence modifications as a general rule,” to have “provide[d] for the retroactive

 application of specific changes in sentencing law in § 3582(c)(2)” had § 3582(c)(1)(A)

 “already covered all legal developments, retroactive or not.” United States v. McCall,

 56 F.4th 1048, 1056 (6th Cir. 2022) (en banc).

    Consistent with Congress’s goal of determinate sentencing, § 3582(c)(1)(A) was

 enacted as a narrow “safety valve” for “unusual cases in which an eventual reduction

 in the length of a term of imprisonment is justified by changed circumstances.” S.

 Rep. No. 98–225, at 55, 121 (1983). Congress anticipated that such “justification[s]

 for reducing a term of imprisonment” would arise in a “relatively small number” of

 cases, and specifically identified severe or terminal illness as the archetype of

 “extraordinary and compelling circumstances” that would justify reducing a

 sentence. Id. at 55–56, 121. However, subsection (b)(6) purports to allow a district

 court to reduce a defendant’s sentence when, in the judge’s estimation, the defendant

 received “an unusually long sentence” that, accounting for nonretroactive changes in

 law, now represents a “gross disparity” from the sentence the court would likely

 impose today. USSG § 1B1.13(b)(6). That authority is incompatible with the

 Sentencing Reform Act’s overarching purpose and Congress’s specific intent with

 respect to § 3582(c)(1)(A).
                                             9
Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 10 of 15




     Even when reached through an exercise of delegated authority, an agency’s

  interpretation of a statute must be set aside if the agency’s interpretation is not

  “reasonable.” Mayo Found. for Med. Educ. & Research v. United States, 562 U.S. 44, 58

  (2011) (internal quotation marks omitted); see Batterton v. Francis, 432 U.S. 416, 428

  (1977). Because subsection (b)(6) conflicts with § 3582(c)(1)(A)’s plain text, context,

  and purpose, the Commission’s interpretation of the statute as set forth in subsection

  (b)(6) is unreasonable and therefore invalid. Mayo Found., 562 U.S. at 58; see United

  States v. LaBonte, 520 U.S. 751, 753 (1997) (invalidating Guidelines amendment

  where “the Commission’s interpretation is inconsistent with [the statute’s] plain

  language”).

            b. In any event, Embry would not qualify for a reduction under
               § 1B1.13(b)(6), because he has not served ten years, and because no
               gross disparity exists between the sentence he received and that he
               would face today.

     Second, even if § 1B1.13(b)(6) were valid, Embry does not qualify for a reduction

  under its express terms. Section 1B1.13(b)(6) applies only to a defendant who “has

  served at least ten years.” Embry has served eight years and four months of his

  sentence. Nor can Embry show that the elimination of the career offender

  enhancement would create the type of “gross disparity” required for a reduction to be

  consistent with the policy statement. The only effect of removing Embry’s career

  offender enhancement is to reduce his Criminal History Category from VI to V. (See

  PSR at ¶ 44 and USSG § 4B1.1(b)). His offense level remains the same. (See PSR at

  ¶ 29). Thus, even with the four-level departure this Court granted at sentencing,

                                              10
Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 11 of 15




  Embry would face a Guidelines range of 168 to 210 months with the career offender

  enhancement, and 151 to 188 months without the enhancement. (USSG § 5A; Dkt.

  # 433 at 5–6). Importantly, this Court sentenced Embry to 180 months, which falls

  within both ranges. Accordingly, even if § 1B1.13(b)(6) is valid, Embry has not

  demonstrated an extraordinary and compelling reason for a sentence reduction

  because he has not shown any disparity, let alone a gross disparity, between the

  sentence he received and the sentence he would face today.

     B. The general sentencing disparities on which Embry relies do not qualify as
     extraordinary and compelling under USSG § 1B1.13(b)(6).

     Embry’s argument that he should receive a sentence reduction based on the

  alleged disparity between the sentence he received and the sentences received by

  “comparable offenders” likewise fails, because § 1B1.13(b)(6) of the Guidelines, by

  its express terms, is limited to unusually long sentences and sentence disparities

  occasioned by changes in the law. Sentence disparities between what Embry and

  other offenders received simply are not the type of disparity that § 1B1.13(b)(6)

  references as potentially extraordinary and compelling.

     C. The two-level firearm enhancement cannot form a basis for reducing Embry’s
     sentence under § 3582(c)(1)(A).

     Embry further argues that he is “actually innocent” of possessing a firearm in the

  course of committing his drug offense – that the government never proved he

  possessed the firearm in furtherance of his drug offense, and that, as a result, he




                                             11
Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 12 of 15




  should not have received a two-level enhancement under § 2D1.1(b)(1).2 (Dkt. # 579

  at 25–29). Embry’s challenge to his sentence more properly belongs in a § 2255

  motion. Indeed, a “§ 3582(c)(1)(A)(i) motion may not be based on claims specifically

  governed by 28 U.S.C. § 2255.” United States v. Wesley, 60 F.4th 1277, 1289 (10th Cir.

  2023); see also United States v. Thacker, 4 F.4th 569, 574 (7th Cir. 2021) (explaining

  that § 2255 provides the “principal path” that Congress has “established for federal

  prisoners to challenge their sentences” after they have become final). Embry has

  already filed (and lost) a § 2255 motion. (See Dkt. ## 469 and 489). This Court lacks

  jurisdiction to consider a second or successive § 2255 motion. See 28 U.S.C. §

  2255(h); United States v. Nelson, 465 F.3d 1145, 1148 (10th Cir. 2006).

      D. Embry’s health issues and the risk of contracting COVID-19 do not rise to the level
      of an extraordinary and compelling reason.

      Although Embry’s obesity and substance use disorders qualify as risk factors for

  severe COVID-19 according to the CDC,3 his health records reflect that he has

  received both doses of the Moderna COVID-19 vaccine and the Pfizer BioNTech

  COVID-19 booster. (See Exh. 1 at 2). This fact alone negates his eligibility for

  compassionate release based on the risks of COVID-19. See, e.g., United States v.

  Gunkel, No. 22-5055, 2022 WL 17543489 (10th Cir. Dec. 9, 2022) (unpublished)



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    In any event, as Embry acknowledges, the government need only prove sentencing
  enhancements by a preponderance of the evidence. Therefore, Embry’s claim fails on its
  merits, as he cannot show that the government was required to plead or prove the gun’s
  make, model, caliber or serial number to support the firearm enhancement.
  3
    See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
  medical-conditions.html, last visited on December 20, 2023.
                                               12
Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 13 of 15




  (“COVID-19 vaccination status weighs against finding extraordinary and compelling

  circumstances.”). Moreover, there is no COVID-19 emergency at FCI Petersburg

  Medium, where Embry is housed.4

      E. Embry’s rehabilitation, by itself, cannot constitute an extraordinary and compelling
      reason for a sentence reduction.

      Embry further points to his lack of disciplinary infractions and his academic

  efforts as a basis for a sentence reduction. (Dkt. # 579 at 29–31). But, rehabilitation

  efforts by themselves cannot qualify as extraordinary and compelling reasons for a

  sentence reduction. United States v. McGee, 992 F.3d 1035, 1043 (10th Cir. 2021)

  (“Rehabilitation of the defendant alone… shall not be considered an extraordinary

  and compelling reason” for a sentence reduction) (quoting 28 U.S.C. § 994(t)).

  II. Embry is ineligible for a sentence reduction under Amendment 821, because he
      accrued ten criminal history points under § 4A1.1(a) and (c) and his criminal
      history computation included no status points under § 4A1.1(d)

      Embry has filed a supplemental brief seeking relief under § 3582(c)(2) and

  Amendment 821 to the Sentencing Guidelines. (See Dkt. # 585). However, Embry is

  ineligible for a sentence reduction under either Amendment 821(A) or (B). He is

  ineligible for a reduction based on Amendment 821(A), which alters the application

  of “status points” in the Criminal History Category computation in § 4A.1.1(d),

  because he did not receive any criminal history status points under § 4A1.1(d) for


  4
    See https://www.bop.gov/locations/institutions/pem/, last visited December 20, 2023
  (showing FCI Petersburg Medium at COVID-19 Operational Level 1); see also
  https://www.bop.gov/coronavirus/covid19_modified_operations_guide.jsp, last visited
  December 20, 2023 (describing the COVID-19 Operational Levels).
                                             13
Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 14 of 15




  committing “the instant offense while under any criminal justice sentence, including

  imprisonment, work release, or escape status.” USSG § 4A1.1(d). He is likewise

  ineligible for a reduction based on Amendment 821(B), which grants defendants

  having zero criminal history points a two-level reduction in their offense level under

  § 4C1.1, because he had accrued ten criminal history points before his offense of

  conviction in this case. (See PSR at ¶ 44).


                                        Conclusion

     Because Embry cannot show an extraordinary and compelling reason for a

  sentence reduction under § 3582(c)(1)(A), and because Amendment 821 to the

  Sentencing Guidelines does not apply to Embry’s sentence, this Court should deny

  his motion for reduction of sentence.


                                           Respectfully submitted,
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                                                14
Case 4:15-cr-00133-GKF Document 586 Filed in USDC ND/OK on 12/22/23 Page 15 of 15




                                   Certificate of Service

  I certify that on December 22, 2023, I electronically transmitted the foregoing to the
  Clerk of the Court using the ECF System for filing, and that a true and correct copy
  of this filing was served by first-class mail, postage prepaid, to the following, who is
  not an ECF registrant:

  Vysean Embry
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  Defendant, Pro se

                                           /s/ William L. Foreman
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                                             15
